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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF VERMONT

MYWEBGROCER, INC.                         ))
                                          ))
            Plaintiff and                 ))
            Counterclaim Defendant        ))
                                          ))
      v.                                  )                   Civil Action No. 5:16-cv-00310-gwc
                                          ))
ADLIFE MARKETING &,                       ))
COMMUNICATIONS CO., INC.                  )
                                          )
            Defendant and                 )
            Counterclaim Plaintiff        )
_________________________________________ ))

            PLAINTIFF’S
            PLAINTIFF'S MOTION FOR PARTIAL SUMMARY JUDGMENT
                 ON DAMAGES FOR COPYRIGHT INFRINGEMENT

       Pursuant to Fed. R. Civ. P. 56 and Local Rule 56, Plaintiff MyWebGrocer, Inc.

(“MyWebGrocer”) hereby moves for partial summary judgment on the issue of damages as it
("MyWebGrocer")

                                                                 – specifically, Count I
pertains to the copyright infringement claims in this litigation —

(“Declaratory Judgment of No Copyright Infringement")
("Declaratory                          Infringement”) of MyWebGrocer's
                                                         MyWebGrocer’s Amended

                                                 (“Copyright Infringement”)
Complaint (ECF 10) and the First Cause of Action ("Copyright Infringement") of Adlife

                           Co.’s ("Adlife")
Marketing & Communications Co.'s (“Adlife”) Amended Counterclaim (ECF 47). For the

                                                                             MyWebGrocer’s
reasons set forth in the following Memorandum of Law, the Court should grant MyWebGrocer's

motion.

                                  MEMORANDUM OF LAW

I.     INTRODUCTION

       MyWebGrocer filed this action on November 18, 2016, and later amended its Complaint

                                                                            Adlife’s alleged
on February 23, 2017, seeking a declaratory judgment of non-infringement of Adlife's
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                                    images.1 ECF 1 & 10. In response Adlife filed an Answer,
copyrights in various prepared food images.1

Affirmative Defenses, and Counterclaim on February 6, 2017, and subsequently amended the

same on March 9, 2017 and January 31, 2018, claiming that that MyWebGrocer has infringed

Adlife’s alleged copyrights in various prepared food images. ECF 5, 12 & 47. The food images
Adlife's

            MyWebGrocer’s declaratory judgment claim are those identified by Adlife as
at issue in MyWebGrocer's

“BeefBrisket001,” "SandwichTunaSalad001,"
"BeefBrisket001," “SandwichTunaSalad001,” "WrapTurkeyHam001,"
                                          “WrapTurkeyHam001,” "SausagePasta001,"
                                                              “SausagePasta001,” and

“PorkRibBabyBack006.” The latter three images are also at issue in Adlife's
"PorkRibBabyBack006."                                              Adlife’s infringement

                                   (“MangosHR0612,” and "CherryBing006_ADL").
claim, along with two other images ("MangosHR0612,"     “CherryBing006_ADL”). For the

remainder of this motion, the "WrapTurkeyHam001,"
                              “WrapTurkeyHam001,” "SausagePasta001,"
                                                  “SausagePasta001,”

“PorkRibBabyBack006,” "MangosHR0612,"
"PorkRibBabyBack006," “MangosHR0612,” "CherryBing006_ADL,"
                                      “CherryBing006_ADL,” "BeefBrisket001,"
                                                           “BeefBrisket001,” and

“SandwichTunaSalad001” images are referred to collectively as the "Accused
"SandwichTunaSalad001"                                                     Images."22
                                                                  “Accused Images.”

         MyWebGrocer now seeks summary judgment on the issue of the damages sought by

                                                                “statutory damages . . . in an
Adlife in its infringement claims. Adlife is seeking to recover "statutory

amount up to $150,000.00 for each infringement pursuant to 17 U.S.C. § 504(c) or actual

damages and profits . . . in an amount to be proven for each infringement pursuant to 17 U.S.C. §

504(b)."33 ECF 47, at 20. Adlife also seeks to recover "costs
504(b).”                                               “costs of litigation and reasonable

attorney’s fees . . . pursuant to 17 U.S.C. § 505.”
attorney's                                    505." Id. Conversely, in its claim for declaratory

judgment, MyWebGrocer seeks a determination that any damages recoverable by Adlife

(assuming liability were found) would be limited solely to "Market
                                                           “Market Value per Accused Image



 11 MyWebGrocer also brought a claim for injunctive relief and damages for Adlife's
                                                                              Adlife’s violation of the Vermont
Consumer Protection Act, 9 V.S.A. §§ 2451 et seq., through unfair and deceptive business practices. That claim is
  not addressed in this motion.
  2
2 In its counterclaim, Adlife has elected not to make any claim for infringement and damages with respect to the
  “BeefBrisket001” and "SandwichTunaSalad001"
"BeefBrisket001"         “SandwichTunaSalad001” images. Those images are included only in MyWebGrocer's
                                                                                                  MyWebGrocer’s
  declaratory judgment claim.
33 Adlife's
    Adlife’s prayer for up to $150,000 in statutory damages is premised on its allegation that the infringement in this
  case was willful, which MyWebGrocer disputes. See ECF 47, at 19.


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                                                          -2
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            infringed,” if proven. ECF 10, at 10.
found to be infringed,"

         As demonstrated below, MyWebGrocer is entitled to partial summary judgment on

Adlife’s claims for (1) MyWebGrocer's
Adlife's                MyWebGrocer’s profits, (2) actual damages, (3) statutory damages, and

               fees.44
    attorneys’ fees.
(4) attorneys'

II.      SUMMARY JUDGMENT STANDARD

         Summary judgment is appropriate where the moving party "shows
                                                                “shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a). The record evidence must be viewed in the light most favorable to
law."

the non-moving party, and all reasonable inferences drawn in his or her favor. GEICO Gen. Ins.

Co. v. Dowd, No. 2:12-cv-40, 2012 WL 6597685, at *2 (D. Vt. Dec. 18, 2012) (citing Weinstock

                                                    “However, mere conclusory allegations,
v. Columbia Univ., 224 F.3d 33, 41 (2d Cir. 2000)). "However,

                                                                   judgment.” Cifarelli v. Vill. of
speculation or conjecture will not avail a party resisting summary judgment."

Babylon, 93 F.3d 47, 51 (2d Cir. 1996).

        “By its very terms, [the summary judgment] standard provides that the mere existence of
        "By

some alleged factual dispute between the parties will not defeat an otherwise properly supported

motion for summary judgment; the requirement is that there be no genuine issue of material

fact.” U.S. v. Sullivan, No. 2:12-CV-72, 2013 WL 709222, at *5 (D. Vt. Feb. 27, 2013) (quoting
fact."

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986) (emphasis added in Sullivan));

Rojas v. The Roman Catholic Diocese of Rochester, 660 F.3d 98, 104 (2d Cir. 2011) (per

        (“mere existence of a scintilla of evidence in support of the [non-movant's]
curiam) ("mere                                                        [non-movant’s] position will

   insufficient”). An issue of fact is material if it "might
be insufficient").                                    “might affect the outcome of the suit under the

governing law. An issue of fact is genuine if the evidence is such that a reasonable jury could

44 Adlife's
   Adlife’s entitlement to any recovery, of course, is dependent upon whether it can meet its burden of proof on the
 issue of liability (including copyrightability, ownership, and infringement). Concurrently with the present motion,
MyWebGrocer is moving for partial summary judgment on liability.


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                                   party.” Konikoff v. Prudential Ins. Co. of Am., 234 F.3d 92,
return a verdict for the nonmoving party."

97 (2d Cir. 2000); Rojas, 660 F.3d at 104 ("In
                                          (“In weighing the evidence on a motion for summary

judgment, ‘the
          'the judge must ask . . . not whether the evidence unmistakably favors one side or the

other but whether a fair-minded jury could return a verdict for the [non-movant] on the evidence

presented.’”).
presented.').

                                    “must do more than simply show that there is some
         Also, the non-moving party "must

                                      facts” and "must
metaphysical doubt as to the material facts"     “must come forward with specific facts showing

                                  trial.” Caldarola v. Calabrese, 298 F.3d 156, 160 (2d Cir. 2002).
that there is a genuine issue for trial."

The non-moving party may not rest on the pleadings but must further set forth specific facts in

the affidavits, depositions, answers to interrogatories, or admissions showing a genuine issue

exists for trial. See Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986).

         “Summary Judgment procedure is properly regarded not as a disfavored procedural
         "Summary

shortcut, but rather as an integral part of the Federal Rules as a whole, which are designed to

                                                               action.” Id. at 327 (internal
secure the just, speedy and inexpensive determination of every action."

quotations omitted). Moreover, the central purpose of summary judgment is to avoid a useless

trial by isolating and disposing of factually unsupported claims or defenses, and the Rule should

be interpreted in a way that allows it to accomplish this purpose. See id. at 323-24.

III.     ARGUMENT

         The compensatory damages a copyright owner may recover, assuming it has already

                                                  504.55 Section 504(b) of the Copyright Act
proved infringement, are set forth in 17 U.S.C. § 504.

provides as follows:


55 The damages recoverable in a copyright case are limited in time. Under 17 U.S.C. § 507(b), "[n]o“[n]o civil action
 shall be maintained under the provisions of this title unless it is commenced within three years after the claim
 accrued.” In other words, the statute "allows
accrued."                              “allows [copyright owners] . . . to gain retrospective relief running only three
                                             filed.” Petrella v. Metro-Goldwyn-Mayer, Inc., 572 U.S. 663, 672
years back from the date the complaint was filed."
(2014).


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                                                          -4
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               The copyright owner is entitled to recover the actual damages
               suffered by him or her as a result of the infringement, and any
               profits of the infringer that are attributable to the infringement and
               are not taken into account in computing the actual damages. In
                                 infringer’s profits, the copyright owner is required
               establishing the infringer's
               to present proof only of the infringer's
                                              infringer’s gross revenue, and the
               infringer is required to prove his or her deductible expenses and
               the elements of profit attributable to factors other than the
               copyrighted work.

17 U.S.C. § 504(b) (emphasis added). As an alternative, the copyright owner can opt not to

                                   infringer’s profits, and instead may elect to recover statutory
recover its actual damages and the infringer's

damages under 17 U.S.C. § 504(c), as follows:

               (1) Except as provided by clause (2) of this subsection, the
               copyright owner may elect, at any time before final judgment is
               rendered, to recover, instead of actual damages and profits, an
               award of statutory damages for all infringements involved in the
               action, with respect to any one work, for
                                                      for which any one infringer is
               liable individually, orfor
                                       for which any two or more infringers are
                      jointly and severally, in a sum of not less than $750 or more
               liable jointly
               than $30,000 as the court considers just . . . .

               (2) In a case where the copyright owner sustains the burden of
               proving, and the court finds, that infringement was committed
               willfully, the court in its discretion may increase the award of
               statutory damages to a sum of not more than $150,000. In a case
               where the infringer sustains the burden of proving, and the court
               finds, that such infringer was not aware and had no reason to
               believe that his or her acts constituted an infringement of
               copyright, the court in its discretion may reduce the award of
               statutory damages to a sum of not less than $200 . . . .

17 U.S.C. § 504(c) (emphasis added). Finally, the court has discretion to allow the recovery of

                            attorneys’ fees, to the prevailing party in a copyright infringement
costs, including reasonable attorneys'

case. 17 U.S.C. § 505.

       A.      MyWebGrocer is Entitled to Summary Judgment on Adlife's
                                                              Adlife’s Claim for
               MyWebGrocer’s Profits.
               MyWebGrocer's

                                                               – the profits of the infringer
       Recovery of the second category of compensatory damages —




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                                          – requires the copyright owner to prove the infringer's
that are attributable to the infringement —                                           infringer’s

“gross revenue reasonably related to the infringement, not unrelated revenues."
"gross                                                               revenues.” On Davis v. The

Gap, Inc., 246 F.3d 152, 160 (2d Cir. 2001). In other words, the copyright owner must "provide
                                                                                      “provide

sufficient proof of a causal nexus between the infringement and the profit as to which the

                           disgorgement,” and damages that are "only
copyright owner is seeking disgorgement,"                      “only remotely or speculatively

                                           precluded.” Complex Sys., Inc. v. ABN Ambro Bank
attributable to the infringement should be precluded."

N.V., No. 08 Civ. 7497(KBF), 2013 WL 5970065, at *2 (S.D.N.Y. Nov. 8, 2013). Moreover, in

                        “attribution” element to be met, "mere
order for the statutory "attribution"                    “mere connection or usage alone"
                                                                                   alone” is

insufficient. Id. at *5.

        The copyright owner's
                      owner’s burden is especially high in cases —
                                                                 – like this one —
                                                                                 – where the

infringer’s profits are "indirect"
infringer's             “indirect” —
                                   – that is, where the alleged infringer has not sold the copyrighted

work itself. See Mackie v. Rieser, 296 F.3d 909, 914 (9th Cir. 2002) (indirect profits have a

“more attenuated nexus to the infringement").
"more                         infringement”). Indeed, "[b]ecause
                                                      “[b]ecause of the at-best highly

speculative nature of all indirect profits claims such as those at issue here, the decision to send[
                                                                                               send[ J]

such claims to a jury
                 jury should be extremely rare.” Int’l Bus. Machs. Corp. v. BGC Partners, Inc.,
                                          rare." Int'l

No. 10 Civ. 128, 2013 WL 1775437, at *3 (S.D.N.Y. Apr. 25, 2013) (quotations omitted)

                                   infringer’s motion to bar recovery of profits); see also Mager
(emphasis added) (granting alleged infringer's

v. Brand New School, No. 03 Civ. 8552(DC), 2004 WL 2413978, at *4 (S.D.N.Y. Oct. 28, 2004)

                  infringer’s motion for partial summary judgment on profits "because
(granting alleged infringer's                                                “because there is

simply no logical or evidentiary connection between the alleged violations and the [alleged

infringer’s] profits")
infringer's] profits”) (quotation omitted); DaimlerChrysler Servs. v. Summit Nat'l,
                                                                             Nat’l, No. 02-

71871, 2006 WL 208787, at *4 (E.D. Mich. Jan. 26, 2006) (recognizing "heightened
                                                                     “heightened initial

                                                 indirect”).
burden on the copyright holder where profits are indirect").




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       Applying the foregoing guidelines, courts in numerous copyright infringement cases have

dismissed or precluded claims for indirect profits. In Mackie, for example, defendant included

plaintiff’s artwork in a brochure promoting defendant's
plaintiff's                                 defendant’s symphony subscriptions. 296 F.3d at

911. Plaintiff sought to recover actual damages (including hypothetical royalties and lost future

employment opportunities) and the profits defendant generated from subscriptions in the current

season and future seasons. Id. at 912-13. Finding that plaintiffs
                                                       plaintiff’s evidence and expert testimony

were too speculative and failed to establish the causal link required to recover indirect profits, the

district court granted summary judgment to defendant. Id. at 913. The Ninth Circuit affirmed on

                     “to survive summary judgment on a demand for indirect profits pursuant to
appeal, warning that "to

§ 504(b), a copyright holder must proffer sufficient nonspeculative evidence to support a causal

relationship between the infringement and the profits generated indirectly from such an

infringement.” Id. at 915-16. In so ruling, the court observed the following:
infringement."

               Intuitively, we can surmise virtually endless permutations to
               account for an individual's
                               individual’s decision to subscribe to the Pops series,
               reasons that have nothing to do with the artwork in question. For
               example, was it because of the Symphony’s
                                                 Symphony's reputation, or the
               conductor, or a specific musician, or the dates of the concerts, or
               the new symphony hall, or the program, or the featured composers,
               or community boosterism, or simply a love of music, or . . . ? In
                                                    Mackie’s theory is no less
               the absence of concrete evidence, Mackie's
               speculative than our effort in this paragraph to enumerate even a
               relatively short list of the myriad factors that could influence an
               individual’s purchasing decisions.
               individual's

Id. at 916; see also Complex Sys., Inc., 2013 WL 5970065, at *14 (precluding recovery of

indirect profits and recognizing that purchasing decisions in the marketplace can be based on any

number of factors completely unrelated to the copyrighted work).

       Similarly, in Intl
                     Int’l Bus. Machs. Corp., defendant used plaintiffs
                                                             plaintiff’s copyrighted software to

facilitate transactions between financial institutions. 2013 WL 1775437, at *3. In granting




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defendant’s motion to bar recovery of indirect profits, which it found were "overly
defendant's                                                                 “overly speculative,"
                                                                                    speculative,”

the court concluded that the required causal link could not be established because (1) defendant

                                       “little to no effect"
could migrate to another software with "little       effect” or harm to its business, (2) the

            plaintiff’s expert amounted to "speculation"
opinions of plaintiff's                    “speculation” that fell "well
                                                                   “well short of the requisite

factual determination that at least some portion of BGC's
                                                    BGC’s profits ‘are                 [BGC’s
                                                                  'are attributable to [BGC's

         infringement,’” (3) defendant did not sell the software, and (4) there was no evidence
alleged] infringement,'"

     defendant’s customers cared what software was used. Id. at **3-4. The court further
that defendant's

                                           “may have played an important, significant,
observed that even if the copyrighted work "may

              role” in an alleged infringer's
or meaningful role"               infringer’s operations, that would not be sufficient to establish

the requisite causal nexus, particularly where the work comprised only a small portion of what

enabled the alleged infringer to conduct its business profitably. Id. at *4 (quotations omitted);

see also Complex Sys., Inc., 2013 WL 5970065, at *12 (indirect profits not recoverable where

defendant’s services were "the
defendant's               “the result of a number of other factors"
                                                           factors” besides the copyrighted work,

and plaintiff could not show that the work itself was responsible for any revenue generated by

defendant).

        The present case presents an even greater challenge for Adlife than in many indirect

                                                  “end user"
profits cases, where the alleged infringer is the "end user” of the work. The images at issue in

this case appear on grocery store websites and might have some influence, or negative influence,

or no influence whatsoever, on a grocery shopper's
                                         shopper’s decision to purchase a particular food item.

So it likely is not possible that Adlife could even prove grocery store revenues that are

                              infringement.6 MyWebGrocer is a step removed from that, and as
“attributable” to the alleged infringement.6
"attributable"



66 This is particularly true for the "PorkRibBabyBack006"
                                     “PorkRibBabyBack006” image, which appeared on web pages only for the product
 “Boneless Pork Stir Fry,"
"Boneless              Fry,” not pork
                                  pork baby back ribs; the "WrapTurkeyHam001"
                                                           “WrapTurkeyHam001” image, which appeared only on a deli
                                      “BeefBrisket001” image, which appeared only on recipe pages. See
 department landing page; and the "BeefBrisket001"
MyWebGrocer's                                                (“SUMF”) iri
 MyWebGrocer’s Statement of Undisputed Material Facts ("SUMF")        ¶¶ 24, 42, 82.


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explained below, its revenues and profits are not tied in any way whatsoever to the sales of

grocery products or to the provision of specific images. Thus, there is no way that Adlife could

meet its burden of proving recoverable profits against MyWebGrocer.

       As an initial matter, it is significant that Adlife has not retained an expert to opine on the

issue of recoverable profits in this case. In most if not all of the cases cited above, the copyright

owners in question relied upon expert testimony to prove damages in the form of indirect profits,

and even then they could not meet their burden to show the required causal nexus. But without

any expert analysis whatsoever to back it up, it is axiomatic that any claim by Adlife for indirect

                        “undue speculation."
profits would amount to "undue speculation.”

       Expert or no expert, however, Adlife will not be able to provide any evidence of

MyWebGrocer’s revenues or profits that are attributable to the appearance of the Accused
MyWebGrocer's

Images on its customers'
              customers’ websites. The requisite "causal
                                                 “causal nexus"
                                                         nexus” simply does not exist.

MyWebGrocer provides software services to its retail grocery store customers that consist of (a)

building and maintaining e-commerce websites, (b) providing digital circular services, and/or (c)

building WordPress websites for customers. SUMF ¶
                                                ¶ 1. For e-commerce services,

MyWebGrocer’s revenues are generated from flat
MyWebGrocer's                              flat fees per order regardless of
                                                                          of the number of
                                                                                        of

products in an order or flat
products                 flat monthly fees regardless of
                                                      of the number of
                                                                    of orders per
                                                                              per month. Id. ¶
                                                                                             ¶ 7.

For digital circular services, MyWebGrocer's
                               MyWebGrocer’s revenues are generated based upon the number of

unique circular pages per cycle processed, irrespective of
                                                        of the number or types of
                                                                               of products
                                                                                  products or

images on a page
            page of
                 of a circular. Id. ¶
                                    ¶ 8. For WordPress websites built by MyWebGrocer for its

                                                              flat fee to MyWebGrocer along with
retail grocery store customers, the customer pays a one-time flat

                                       ¶ 10.
periodic maintenance/support fees. Id. ¶

       As the foregoing makes clear, MyWebGrocer's
                                     MyWebGrocer’s revenues (and thus its profits) are not




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derived from, nor affected by, the provision or display of any particular images on

MyWebGrocer customer websites or the sales of any particular products through those websites,

nor are they determined in any way by the number of products sold or the dollar volume of sales

       customers’ websites. Id. 'Irlf
on its customers'                ¶¶ 147, 149. Indeed, all receipts from sales of products through

                MyWebGrocer’s customers belong solely to those customers. Id. ¶
the websites of MyWebGrocer's                                                 ¶ 148.

                            “cut.” At bottom, MyWebGrocer has no revenues and profits
MyWebGrocer does not take a "cut."

“attributable to the [alleged] infringement"
"attributable                  infringement” of the Accused Images. Id. ¶
                                                                        ¶ 151.

       And even if MyWebGrocer's
                   MyWebGrocer’s revenues were somehow linked to the sales of particular

products through the website for a particular MyWebGrocer customer, there is no way for

            – or anyone for that matter —
MyWebGrocer —                           – to determine, outside of pure speculation, whether

the sale of a product was associated with or influenced in any way by a particular image. Id. ¶
                                                                                              ¶

150. As following the reasoning advanced in cases like Mackie, Intl
                                                               Int’l Bus. Machs. Corp., and

Complex Sys., Inc., there are "endless
                              “endless permutations"
                                       permutations” of factors that account for an individual's
                                                                                    individual’s

decision to purchase grocery items that have nothing to do with photographs of the food. Nor is

it possible to say with any level of certainty that the individual even looked at the photograph of

a food item before purchasing it. One can only speculate as to the nexus between the photograph

and the sale, which is impermissible in and of itself (see, e.g., Mackie, 296 F.3d at 914; Complex

Sys., Inc., 2013 WL 5970065, at *2), but even if the sale of a particular grocery item could be

attributed to a photograph and thereby generated revenue for the grocery store, the required

               MyWebGrocer’s revenue still could not be made.
causal link to MyWebGrocer's

       Other considerations highlighted in the case law apply with equal force here. For one,

         MyWebGrocer’s product library includes food images that are available for use by its
although MyWebGrocer's

retail grocery store customers for their websites (typically in ecommerce or recipe settings),




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MyWebGrocer does not charge separate fees for the use of any images, nor does it reduce its

software services fees if a customer does not use MyWebGrocer's
                                                  MyWebGrocer’s product library. SUMF 'IrIf
                                                                                      ¶¶ 2-

6; see Intl
       Int’l Bus. Machs. Corp., 2013 WL 1775437, at *4 (fact that alleged infringer did not sell

the copyrighted work was indicative of no causal link between infringement and revenues).

                             MyWebGrocer’s customer websites have no material significance.
Moreover, the food images on MyWebGrocer's

                                        MyWebGrocer’s product library or from one of its
Removal of a particular food image from MyWebGrocer's

customers’ websites has no effect whatsoever on MyWebGrocer's
customers'                                      MyWebGrocer’s business (including its

revenues and profits), as alternate images are readily available and serve the same purpose if

desired. SUMF ¶
              ¶ 152; see Intl
                         Int’l Bus. Machs. Corp., 2013 WL 1775437, at *3 (fact that alleged

infringer could switch from the infringing work to another product with no harm to its business

was indicative of no causal link between infringement and revenues). Accordingly,

MyWebGrocer had no trouble promptly taking down or removing images where infringement

was accused. SUMF I¶¶ 26, 34, 47, 58, 71, 84, 96.

          On a similar note, Adlife has argued throughout this litigation that the very fact that its

images may have been used on websites for a MyWebGrocer customer demonstrates that the

                     “worth” to MyWebGrocer. But as courts have observed, mere use of a
image must have some "worth"

                                                                    “attribution” element to be met.
work is insufficient to establish the causal nexus required for the "attribution"

Complex Sys., Inc., 2013 WL 5970065, at *5.

          In summary, for the foregoing reasons Adlife will not be able to meet its evidentiary

                                “profits of the infringer that are attributable to the infringement."
burden to establish a claim for "profits                                               infringement.”

                                                                        Adlife’s prayer for
MyWebGrocer is therefore entitled to summary judgment on this aspect of Adlife's

relief.




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       B.      MyWebGrocer is Entitled to Summary Judgment on Adlife's
                                                                   Adlife’s Claim for
               Actual Damages. In the Alternative, Adlife's
                                                   Adlife’s Recovery of Actual Damages
               Should Be Limited to the Fair Market License Value of the Images at Issue,
               Provided that Adlife Can Prove Such Value.

       The primary measure of actual damages, where proven, is "the
                                                               “the extent to which the market

value of the copyrighted work at the time of the infringement has been injured or destroyed by

    infringement,” including lost sales or other profits the copyright owner would have received
the infringement,"

from the work but for the infringement. Baker v. Urban Outfitters, Inc., 254 F.Supp.2d 346, 356

                                    Publ’g Co. v. Baylor Publ'g
(S.D.N.Y. 2003) (quoting Fitzgerald Publ'g               Publ’g Co., 807 F.2d 1110, 1118 (2d

Cir. 1986)). Actual damages are awarded to compensate the copyright owner for its own losses

                                                             “undue speculation."
from the infringement and, importantly, cannot be based upon "undue speculation.” Id. (citing

and quoting Abeshouse v. Ultragraphics, Inc., 754 F.2d 467, 470 (2d Cir. 1985) and On Davis,

246 F.3d at 166.

       Where a copyright owner cannot demonstrate lost sales/profits or other diminution in

value, a common measure used by courts to award actual damages is the fair market value of a

reasonable license fee —
                       – that is, "the
                                  “the reasonable license fee on which a willing buyer and a

willing seller would have agreed for the use taken by the infringer."
                                                          infringer.” On Davis, 246 F.3d at 166-

67. "The
    “The question is not what the owner would have charged [for a license], but rather what is

                value,” which value the copyright owner must show. Id. at 166; see also Mackie,
the fair market value,"

296 F.3d at 917 ("the
                (“the market value approach is an objective, not a subjective, analysis");
                                                                               analysis”);

DaimlerChrysler Servs., 2006 WL 208787, at *2 (copyright owner "may
                                                               “may not rely on its own

subjective estimate as to the price it would have charged [an alleged infringer] . . . . [the

copyright owner] must introduce evidence of the fair market value of [the copyrighted work] at

            infringement”). Such a measure serves to minimize the risk of abuse by the copyright
the time of infringement").

owner. On Davis, 246 F.3d at 166; see also Baker, 254 F.Supp.2d at 358 ("reasonable
                                                                       (“reasonable license



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fee damages are not intended to be a windfall for a [copyright owner]").
                                                               owner]”).

         In the present case, Adlife has not provided any evidence —
                                                                   – nor even claimed for that

       – that it directly suffered lost sales or profits due to the alleged infringement of any
matter —

images by MyWebGrocer, or that the value of its purported copyrights has been somehow

diminished. As such (and assuming infringement were proven), any actual damages recoverable

by Adlife would be limited to the fair market value of a reasonable license fee for the uses of

Adlife’s images by MyWebGrocer. But even then, Adlife will be unable to meet its burden of
Adlife's

proof, as it has offered no evidence or expert testimony on the fair market value for the specific

uses in question, which uses were as follows:

    ••   The "PorkRibBabyBack006"
              “PorkRibBabyBack006” Image. MyWebGrocer purchased a perpetual license
         covering this image from Multi-Ad Services in 2000, at a cost of approximately $5.80 per
         image licensed — – 35 percent of which (i.e., $2.03) presumably was paid by Multi-Ad to
                                     “Adlife Digital Food Photographer Distributor Agreement"
         Adlife per the terms of the "Adlife                                         Agreement”
                         parties.7 SUMF 'Irlf
         between those parties.?          ¶¶ 21, 155, 157-59. Multi-Ad licensed the image to
         MyWebGrocer for the understood purpose of use in connection with the web services
         MyWebGrocer provided to its retail grocery store customers, including possible display
                  customers’ websites. Id. ¶
         on such customers'                  ¶ 22. MyWebGrocer added the image to its product
         library, which was the only location where the image was housed by MyWebGrocer (i.e.,
         MyWebGrocer’s customers did not take possession of the image from MyWebGrocer).
         MyWebGrocer's
         Id. ¶
             ¶ 23. Adlife claims infringement because, as of November 2016, the image appeared
         on various (29 stores) e-commerce websites MyWebGrocer developed and/or maintained
         for ShopRite, one of MyWebGrocer's
                                MyWebGrocer’s retail grocery store customers, with the image
                                                              “Boneless Pork Stir Fry."
         being associated in each instance with the product "Boneless             Fry.” Id. ¶
                                                                                            ¶ 24.
         Adlife informed MyWebGrocer of its claim on November 1, 2016, at which time
         MyWebGrocer promptly and in good faith removed the image from its product library
         and, correspondingly, from the ShopRite websites where it had appeared, despite having
                                   Multi-Ad.8 Id. In
         licensed the image from Multi-Ad.8        ¶¶ 25-26.

    ••   The "SausagePasta001"
             “SausagePasta001” Image. Adlife claims infringement because, as of October and
         November 2016, this image appeared on various (12 stores) e-commerce websites

77 MyWebGrocer purchased three "Ad
                               “Ad Builder Food Photography"
                                                Photography” CDs, which contained a total of 900 images
                 “PorkRibBabyBack006” image), for a total perpetual license price of $5,220.00. Id. ¶
(including the "PorkRibBabyBack006"                                                                   ¶ 157. Notably,
 for any sales by Multi-Ad of CDs containing Adlife's
                                               Adlife’s images under the "Adlife
                                                                          “Adlife Digital Food Photographer
              Agreement,” Adlife required that Multi-Ad first obtain Adlife's
Distributor Agreement,"                                              Adlife’s agreement to the selling price and to the
 identity of the customer. Id. ¶
                               ¶ 156.
88 Adlife has already settled with ShopRite (Wakefern) regarding its alleged infringement claim for the
 “PorkRibBabyBack006” image. Id. ¶ 154.
"PorkRibBabyBack006"


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         MyWebGrocer developed and/or maintained for ShopRite. Id. ¶    ¶ 32. MyWebGrocer did
         not display the image on ShopRite’s
                                   ShopRite's websites, the image did not come from
                                                                               MyWebGrocer’s
         MyWebGrocer, and at no time was the image added to or included in MyWebGrocer's
         product library (and thus could not be accessed from that database to be displayed on any
         MyWebGrocer customer websites). Id. 'IrIf¶¶ 35-36. Adlife informed MyWebGrocer of its
         claim of infringement on November 1, 2016, at which time MyWebGrocer promptly and
         in good faith removed or caused to be removed the image from the ShopRite websites
                       appeared.9 Id. 'IrIf
         where it had appeared.9      I¶¶ 33-34.

    ••   The "WrapTurkeyHam001"
               “WrapTurkeyHam001” Image. Adlife claims infringement because, as of September
         2016, this image appeared on the deli department landing page of a single website for
                                             MyWebGrocer’s retail grocery store customers. Id.
         Pennington Quality Market, one of MyWebGrocer's
         ¶¶ 42-43. This website was a WordPress site that, although created for Pennington by
         In
         'Irlf
         MyWebGrocer, was populated with content and maintained solely by Pennington. Id. ¶     ¶
         44. Pennington obtained the image on its own (through its ad agency) and directly placed
         the image on its website, with no involvement from MyWebGrocer. Id. ¶     ¶ 45. The image
                                                MyWebGrocer’s product library, and thus could
         was at no time added to or included in MyWebGrocer's
         not be accessed from that database to be displayed on any MyWebGrocer customer
         websites developed and/or maintained by MyWebGrocer. Id. ¶       ¶ 48. Adlife informed
         MyWebGrocer of its claim of infringement on November 1, 2016, at which time
         MyWebGrocer promptly and in good faith removed or caused to be removed the image
                                                    appeared.10 Id. 'Irlf
         from the Pennington website where it had appeared.lo       I¶¶ 46-47.

    ••   The "MangosHR0612"
              “MangosHR0612” Image. Adlife claims infringement because this image appeared
         in weekly circulars included on various websites operated by Piggly Wiggly, a former
         retail grocery store customer of MyWebGrocer (for digital circular services only), for the
         ad weeks ending July 25, 2017 and August 8, 2017. Id. 'Irlf
                                                                 ¶¶ 54-55.
                                                                 In

                                       Piggly Wiggly provided the image to MyWebGrocer for
         digitization as part of a circular advertisement, which included a collection of images and
                                                                       ¶¶ 56, 60. The image was at
         text, to be displayed solely on Piggly Wiggly websites. Id. 'Irlf
                                            MyWebGrocer’s product library, and thus could not be
         no time added to or included in MyWebGrocer's
         accessed from that database to be displayed on any MyWebGrocer customer websites
         developed and/or maintained by MyWebGrocer. Id. ¶      ¶ 59. Adlife informed
         MyWebGrocer of its claim of infringement on August 1, 2017, at which time
         MyWebGrocer promptly and in good faith removed or caused to be removed the circular
         containing the image from the Piggly Wiggly websites where it was displayed. Id. I¶¶ 57-
         58.

    ••   The "CherryBing006
             “CherryBing006_ADL”
                               ADL" Image. Adlife claims infringement because this image
         appeared in weekly circulars included on various websites operated by Key Food, a retail
         grocery store customer of MyWebGrocer (for digital circular services only), for the ad

99 Adlife has already settled with ShopRite (Wakefern) regarding its alleged infringement claim for the
 “SausagePasta001” image. Id. ¶
"SausagePasta001"                ¶ 154.
 10 Adlife has already dealt directly with Pennington to resolve its alleged infringement claim for the
10
 “WrapTurkeyHam001” image. Id. ¶
"WrapTurkeyHam001"                    ¶ 153.


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     weeks ending July 27, 2017 and August 3, 2017. Id. In
                                                        I¶¶ 67-68.

                                   Key Food provided the image to MyWebGrocer for
     digitization as part of a circular advertisement, which included a collection of images and
     text, to be displayed solely on Key Food websites. Id. 'IrIf
                                                              I¶¶ 69, 73. The image was at no
     time added to or included in MyWebGrocer's
                                    MyWebGrocer’s product library, and thus could not be
     accessed from that database to be displayed on any MyWebGrocer customer websites
     developed and/or maintained by MyWebGrocer. Id. ¶      ¶ 72. Adlife informed
     MyWebGrocer of its claim of infringement on August 1, 2017, at which time
     MyWebGrocer promptly and in good faith removed or caused to be removed the circular
     containing the image from the Key Food websites where it was displayed. Id. I¶¶ 70-71.

••   The "BeefBrisket001"
          “BeefBrisket001” Image. MyWebGrocer purchased a perpetual license covering this
     image (in an "extra  small” format) from iStock in 2009 for a price of one iStock "credit,"
                  “extra small"                                                         “credit,”
     which at that time amounted to $1.00 —  – some portion of which presumably was paid by
                                 parties’ express agreement. Id. I¶¶ 78-79, 163. iStock licensed
     iStock to Adlife per those parties'
     the image to MyWebGrocer for the understood purpose of use in connection with the web
     services MyWebGrocer provided to its retail grocery store customers, including possible
                      customers’ websites. Id. ¶
     display on such customers'                  ¶ 80. The iStock license expressly permitted
                        “utilize the Permitted Uses an unlimited number of times,"
     MyWebGrocer to "utilize                                                  times,” which
                               “on-line or electronic publications, including web pages."
     Permitted Uses included "on-line                                              pages.” Id. ¶
                                                                                               ¶
     79. MyWebGrocer added the image to its product library, which was the only location
                                        “installed”) by MyWebGrocer (i.e., MyWebGrocer's
     where the image was housed (or "installed")                             MyWebGrocer’s
     customers did not take possession of the image from MyWebGrocer). Id. ¶      ¶ 81. Adlife
     claims infringement because, as of July 2016, the image appeared on recipe pages on
     non-e-commerce websites MyWebGrocer developed and/or maintained for Albertsons (4
                                                       MyWebGrocer’s retail grocery store
     banners/stores) and Key Food (1 store), two of MyWebGrocer's
     customers. Id. ¶¶ 82. MyWebGrocer was notified of Adlife's
                                                            Adlife’s claim of infringement in
     late July 2016 (for three Albertsons banners) and on September 9, 2016 (for one
     Albertsons banner and for Key Food), at which time MyWebGrocer promptly and in
     good faith removed the image from its product library and, correspondingly, from the
     Albertsons and Key Food websites where it had appeared back in July 2016, despite
     having licensed the image from iStock. Id. In ¶¶ 83-84.

••   The "SandwichTunaSalad001"
          “SandwichTunaSalad001” Image. MyWebGrocer purchased a perpetual license
                                 “extra small"
     covering this image (in an "extra  small” format) from iStock in 2007 for a price of one
            “credit,” which at that time amounted to $1.00 —
     iStock "credit,"                                        – some portion of which
                                                          parties’ express agreement. Id. 'Irlf
     presumably was paid by iStock to Adlife per those parties'                            ¶¶ 90-
     91, 163. iStock licensed the image to MyWebGrocer for the understood purpose of use
     in connection with the web services MyWebGrocer provided to its retail grocery store
                                                    customers’ websites. Id. ¶
     customers, including possible display on such customers'                   ¶ 92. The iStock
     license expressly permitted MyWebGrocer to "utilize
                                                    “utilize the Permitted Uses an unlimited
                times,” which Permitted Uses included "on-line
     number of times,"                                   “on-line or electronic publications,
                    pages.” Id. ¶
     including web pages."       ¶ 91. MyWebGrocer added the image to its product library,
                                                                     “installed”) by
     which was the only location where the image was housed (or "installed")
                          MyWebGrocer’s customers did not take possession of the image
     MyWebGrocer (i.e., MyWebGrocer's



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         from MyWebGrocer). Id. ¶  ¶ 93. Adlife claims infringement because, as of September
         2016, the image appeared on a single e-commerce website MyWebGrocer developed
         and/or maintained for ShopRite. Id. ¶
                                             ¶ 94. MyWebGrocer was notified of Adlife's
                                                                                   Adlife’s claim
         of infringement on October 3, 2016, at which time MyWebGrocer promptly and in good
         faith removed the image from its product library and, correspondingly, from the ShopRite
                                                                                iStock.11 Id. In
         website where it had appeared, despite having licensed the image from iStock.11      ¶¶
         95-96.

         As the above points demonstrate, MyWebGrocer made no use of two of the foregoing

       (“WrapTurkeyHam001” and "SausagePasta001"),
images ("WrapTurkeyHam001"     “SausagePasta001”), and therefore there is no fair market

value for Adlife to even recover. MyWebGrocer purchased licenses for three of the remaining

       (“PorkRibBabyBack006,” "BeefBrisket001,"
images ("PorkRibBabyBack006," “BeefBrisket001,” and "SandwichTunaSalad001"),
                                                    “SandwichTunaSalad001”), and thus

has already paid market value. But even if it could show that MyWebGrocer's
                                                              MyWebGrocer’s actions with

respect to those images exceeded the scope of those licenses (which MyWebGrocer disputes),

Adlife has not offered anything to demonstrate the fair market value of the unauthorized portions

of the use. Nor has Adlife offered evidence that would establish the market value for

MyWebGrocer’s limited actions with respect to the "MangosHR0612"
MyWebGrocer's                                     “MangosHR0612” and

“CherryBing006_ADL” images.
"CherryBing006_ADL"

         The only evidence of license value Adlife has offered in this case is the fact that,



                                                                                                    ¶ 166.
                                                                                                Id. ¶

“PreparedFoodPhotos.com” is Adlife's
"PreparedFoodPhotos.com"    Adlife’s current subscription service for licensing its images,

                      “unlimited downloads"
specifically offering "unlimited downloads” from a library of approximately 25,000 images, as

        “full access to stock photography on the website for the specific purposes of advertising,"
well as "full                                                                         advertising,”

             “[o]n-line or electronic publications, including web pages,"
including in "[o]n-line                                           pages,” for the subscriber's
                                                                                  subscriber’s use

    “for the benefit of one of its clients,"
and "for                           clients,” for a monthly cost of $999.00 —
                                                                           – or four
                                                                                 four cents per
                                                                                            per


11 Adlife has already settled with ShopRite (Wakefern) regarding its alleged infringement claim for the
11
“SandwichTunaSalad001” image. Id. ¶
"SandwichTunaSalad001"                ¶ 154.


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image. Id. 'IrIf
           ¶¶ 164-65. In any event, however, offering evidence regarding its

“PreparedFoodPhotos.com” service does not satisfy Adlife's
"PreparedFoodPhotos.com"                          Adlife’s burden in proving actual damages,

given that a copyright owner may not rely upon its own subjective estimate of what it would

                            – the objective measure of fair market value at the time of
charge an alleged infringer —

                required.12 On Davis, 246 F.3d at 166; Mackie, 296 F.3d at 917;
infringement is required.12

DaimlerChrysler Servs., 2006 WL 208787, at *2.

         In view of the foregoing, MyWebGrocer is entitled to summary judgment on Adlife's
                                                                                  Adlife’s

claim for actual damages. Further, to the extent the Court finds Adlife could prove such

damages, they should be limited to fair market license value (to the extent not already paid by

MyWebGrocer).

         C.       MyWebGrocer is Entitled to Summary Judgment on Adlife's
                                                                   Adlife’s Claim for
                  Statutory Damages Concerning the "WrapTurkeyHam001,"
                                                     “WrapTurkeyHam001,”
                  “BeefBrisket001,” and "SandwichTunaSalad001"
                  "BeefBrisket001,"       “SandwichTunaSalad001” Images. For the
                  Remaining Images, MyWebGrocer is Entitled to Summary Judgment on the
                  Issues of Innocent Infringement and Willfulness.

                                                                                 infringer’s
         As explained above, as an alternative to seeking actual damages and the infringer's

profits, a copyright owner may elect to seek statutory damages under 17 U.S.C. § 504(c)(1). A

single award of statutory damages is available for each work infringed, regardless of the number

of infringements of the work. Id.; Bryant v. Media Right Prods., Inc., 603 F.3d 135, 140 (2d Cir.

      (“The Copyright Act allows only one award of statutory damages for any ‘work’
2010) ("The                                                                  'work'

infringed.”). The availability of statutory damages is further limited by 17 U.S.C. § 412, which
infringed.").


12 MyWebGrocer submits that the fair market value of the food images at issue in this litigation, whatever it may be,
is exceedingly low. MyWebGrocer licensed the "BeefBrisket001"
                                                  “BeefBrisket001” and "SandwichTunaSalad001"
                                                                         “SandwichTunaSalad001” images from
                                          “PorkRibBabyBack006” image from Multi-Ad for $5.80. SUMF Irli
iStock for $1.00 apiece, and licensed the "PorkRibBabyBack006"                                                 ¶¶ 157,
163. Currently, images can be licensed from iStock for either one or three "credits"
                                                                             “credits” (iStock's
                                                                                        (iStock’s "own
                                                                                                  “own currency")
                                                                                                        currency”) per
image, with credits costing between $8.00 and $12.00 depending on how many credits are purchased. Id. Irli    ¶¶ 160-62.
This amounts to a range of between $8.00 and $36.00 per image. Id. ¶ 162. Images are also available at no charge
from certain outlets, such as food industry associations. Id. ¶
                                                              ¶ 146. Finally, it is worth noting that the average
                  Adlife’s own "PreparedFoodPhotos.com"
monthly cost for Adlife's       “PreparedFoodPhotos.com” subscription service amounts to approximately four cents
(4¢) per image (i.e., $999 ÷ 25,000 images). Id. ¶ 164.
(40)


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              “no award of statutory damages or of attorney's
provides that "no                                  attorney’s fees, as provided by sections 504

and 505, shall be made for . . . (2) any infringement of copyright commenced after first

publication of the work and before the effective date of its registration, unless such registration is

made within three months after the first publication of the work."
                                                            work.”

        The bar imposed by § 412 of the Copyright Act clearly applies to the

“WrapTurkeyHam001,” "BeefBrisket001,"
"WrapTurkeyHam001," “BeefBrisket001,” and "SandwichTunaSalad001"
                                          “SandwichTunaSalad001” images:

   ••                           “WrapTurkeyHam001” image was created on November 8, 2005
        Adlife claims that the "WrapTurkeyHam001"
        and first published on November 16, 2005. SUMF I¶¶ 40-41. The effective date of the
        image’s copyright registration was September 20, 2016. Id. ¶
        image's                                                       ¶ 38. Adlife has reported
        that infringement of the image occurred as early as September 9, 2016 — – i.e., before the
        effective date of registration, which registration was well beyond three months after first
        publication. Id. ¶
                         ¶ 43.

   ••                          “BeefBrisket001” image was created on July 11, 1999 and first
        Adlife claims that the "BeefBrisket001"
                                         ¶¶ 76-77. The effective date of the image's
        published on July 23, 1999. Id. 'Irlf                                  image’s copyright
        registration was August 5, 2016. Id. ¶¶ 74. Adlife has reported that infringement of the
        image occurred as early as July 2016 —– i.e., before the effective date of registration,
        which registration was well beyond three months after first publication. Id. ¶  ¶ 82.

   ••                           “SandwichTunaSalad001” image was created on July 11, 2005 and
        Adlife claims that the "SandwichTunaSalad001"
                                               ¶¶ 88-89. The effective date of the image's
        first published on July 19, 2005. Id. In                                    image’s
        copyright registration was September 20, 2016. Id. ¶  ¶ 86. Adlife has reported that
        infringement of the image occurred on or before September 19, 2016 —    – i.e., before the
        effective date of registration, which registration was well beyond three months after first
        publication. Id. ¶
                         ¶ 94.

Statutory damages, therefore, are precluded as a matter of law for the "WrapTurkeyHam001,"
                                                                       “WrapTurkeyHam001,”

“BeefBrisket001,” and "SandwichTunaSalad001"
"BeefBrisket001,"     “SandwichTunaSalad001” images.

        For works that are not divested of a statutory damage award under § 412, the Copyright

Act permits a court to award statutory damages of between $750 and $30,000 per work, at the

court’s discretion. 17 U.S.C. § 504(c)(1). However, if the copyright owner can prove that the
court's

                 “willful,” a court may award statutory damages as high as $150,000. 17
infringement was "willful,"

                    “A copyright holder seeking to prove that a copier's
U.S.C. § 504(c)(2). "A                                          copier’s infringement was




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willful must show that the infringer had knowledge that its conduct represented infringement or .

                               possibility.” Bryant, 603 F.3d at 143. On the other hand, if the
. . recklessly disregarded the possibility."

                                                      “innocent” —
alleged infringer can prove that the infringement was "innocent" – specifically, that "the
                                                                                      “the

infringer was not aware and had no reason to believe that his or her acts constituted an

                copyright” —
infringement of copyright" – a court may award of statutory damages as low as $200. 17 U.S.C.

§ 504(c)(2).

       As explained below, MyWebGrocer is entitled to summary judgment on the issues of

innocent infringement and willfulness. Although the Second Circuit has noted that "caution
                                                                                  “caution

                                                                        issue,” it has further
must be exercised in granting summary judgment when state of mind is in issue,"

               “the summary judgment rule would be rendered sterile . . . if the mere incantation
explained that "the

                                                                                    motion.” Res.
of intent or state of mind would operate as a talisman to defeat an otherwise valid motion."

Developers, Inc. v. Statue of Liberty-Ellis Island Found., Inc., 926 F.2d 134, 141 (2d Cir. 1991)

(quotation omitted).

               1.      Innocent Infringement

                               “MangosHR0612” and "ChenyBing006_ADL"
       Any infringement of the "MangosHR0612"     “CherryBing006_ADL” images by

MyWebGrocer was innocent. The decision in the Bryant case is particularly instructive on the

issue of innocent infringement. In Bryant, plaintiffs contracted with one of the defendants

                        plaintiffs’ two copyrighted albums. Bryant v. Europadisk, Ltd., No. 07
(Media Right) to market plaintiffs'

Civ 3050(WGY), 2009 WL 1059777, at *2 (S.D.N.Y. Apr. 15, 2009). Media Right, in turn,

contracted with another defendant (The Orchard) to distribute various audio recordings, which

         plaintiffs’ albums. Id. at *3. In that contract, Media Right expressly warranted to The
included plaintiffs'

                                              plaintiffs’ albums) would not infringe upon any
Orchard that use of the recordings (including plaintiffs'

rights of any third parties. Id. Although the district court concluded that The Orchard had




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          plaintiffs’ copyrights, it found the infringement to be innocent based upon The
infringed plaintiffs'

Orchard’s reliance on the express warranty by Media Right that no rights would be infringed,
Orchard's

and also upon the fact that The Orchard ceased the infringing conduct as soon as it learned of

plaintiffs’ copyright claim. Id. at *7. As against The Orchard, the court awarded plaintiffs
plaintiffs'

statutory damages of $200 for each of its two albums. Id. at *9. The Second Circuit affirmed the

         court’s conclusion and award. Bryant, 603 F.3d at 143.
district court's

                                                                           MyWebGrocer’s
        In the present case, the undisputed facts clearly demonstrate that MyWebGrocer's

                            “MangosHR0612” and "ChenyBing006_ADL"
alleged infringement of the "MangosHR0612"     “CherryBing006_ADL” images was

innocent, following the same reasoning as in Bryant. Both images were provided to

MyWebGrocer by customers as part of a circular to be digitized,




                                                                    SUMF I¶¶ 56, 60, 69, 73.

                                                                           Adlife’s claims
And in each case, MyWebGrocer promptly took down the images upon notice of Adlife's

of infringement. Id. 'In
                     ¶¶ 58, 71.

       The Court can also determine based on the undisputed facts that MyWebGrocer's
                                                                       MyWebGrocer’s alleged

                    “SausagePasta001” and "PorkRibBabyBack006"
infringement of the "SausagePasta001"     “PorkRibBabyBack006” images was innocent.

              “SausagePasta001” image, MyWebGrocer did not display that image on its
Regarding the "SausagePasta001"

customer’s (ShopRite) website, id. ¶
customer's                         ¶ 36, and thus would not even have known it was there let




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                  infringing.13 Regarding the "PorkRibBabyBack006"
alone potentially infringing.13               “PorkRibBabyBack006” image, MyWebGrocer

                                                                                   Multi-Ad.14
licensed that image from Multi-Ad specifically for uses contemplated by itself and Multi-Ad.14

Id. at I¶¶ 21-22. Thus, for both of these images, MyWebGrocer "was
                                                              “was not aware and had no

                                                                 copyright.” Moreover, as with the
reason to believe that [its] acts constituted an infringement of copyright."

“MangosHR0612” and "CherryBing006_ADL"
"MangosHR0612"     “CherryBing006_ADL” images, MyWebGrocer took down the

“SausagePasta001” and "PorkRibBabyBack006"
"SausagePasta001"     “PorkRibBabyBack006” images upon notice of Adlife's
                                                                 Adlife’s claims of

infringement. Id. I¶¶ 26, 34.

                 2.      Willfulness
                         Willfulness

        By definition, the fact that MyWebGrocer's
                                     MyWebGrocer’s alleged infringement in this case was

innocent means that there cannot be a finding of willfulness. But even if the alleged

                                                             – which requires that MyWebGrocer
infringement here was not innocent, a finding of willfulness —

knew it was infringing or recklessly disregarded the possibility that it was infringing —
                                                                                        – would not

be justified in this case. The undisputed facts show that MyWebGrocer obtains the images used

for its customers'
        customers’ websites only from legitimate channels —
                                                          – specifically, through licenses

provided by authorized distributors, from consumer packaged goods companies and

manufacturers authorized to furnish images, from industry associations that own images for use

in promoting their industries, and from retail grocery store customers that expressly represent

                                                           parties’ intellectual property rights —
and warrant that use of the images will not infringe third parties'                              –

and that such was the case for all of the images at issue in this case. Id. I¶¶ 3, 12-13, 21, 56, 60,

69, 73, 78, 90, 146. The undisputed facts show that MyWebGrocer does not illegally download

unlicensed or unauthorized images from the Internet or any other source. Id. ¶
                                                                             ¶ 15. In other


13 The same reasoning applies with respect to the "WrapTurkeyHam001"
13                                                  “WrapTurkeyHam001” image. But as explained above, Adlife is
not entitled to any statutory damages for that image.
14 The same reasoning applies with respect to the "Beeffirisket001"
14                                                  “BeefBrisket001” and "SandwichTunaSalad001"
                                                                          “SandwichTunaSalad001” images. But as
explained above, Adlife is not entitled to any statutory damages for those images.


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words, MyWebGrocer undeniably acts with reasonable care to avoid infringing the intellectual

property rights of others. Moreover, in this case MyWebGrocer promptly took down or caused

to be taken down each of the images for which Adlife claimed infringement, despite the fact that

MyWebGrocer at all times reasonably believed that the use of the images was duly authorized

and lawful. Id. In
                ¶¶ 26, 34, 47, 58, 71, 84, 96.

       In view of all of the foregoing, MyWebGrocer submits that there is no way a reasonable

                                                     – if it even occurred at all —
jury could find that any infringement by MyWebGrocer —                            – was

committed willfully.

       D.       MyWebGrocer is Entitled to Summary Judgment on Adlife's
                                                                Adlife’s Claim for
                Attorneys’ Fees Allocable to the "WrapTurkeyHam001,"
                Attorneys'                       “WrapTurkeyHam001,” "BeefBrisket001,"
                                                                     “BeefBrisket001,”
                    “SandwichTunaSalad001” Images.
                and "SandwichTunaSalad001"

       Under 17 U.S.C. § 505, the court has discretion to award costs, including attorneys'
                                                                                 attorneys’ fees,

to the prevailing party in a copyright infringement action. However, a copyright owner

                                         attorneys’ fees where the alleged infringement began
prevailing in litigation may not recover attorneys'

after the work was first published and before the copyright was registered, unless the registration

was made within three months after the work was first published. 17 U.S.C. § 412. Thus, for the

                                                             “WrapTurkeyHam001,”
same reasons Adlife cannot recover statutory damages for the "WrapTurkeyHam001,"

“BeefBrisket001,” and "SandwichTunaSalad001"
"BeefBrisket001,"     “SandwichTunaSalad001” images, it also cannot recover attorneys'
                                                                            attorneys’ fees.

IV.    CONCLUSION

       WHEREFORE, for the foregoing reasons, MyWebGrocer respectfully requests that this

Court GRANT its Motion for Partial Summary Judgment on Damages for Copyright

Infringement.




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Dated at Burlington, Vermont this 1st day of March, 2019.

                                              MYWEBGROCER, INC.

                                              __/s/
                                                 /s/ Matthew S. Borick
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 1, 2019, I filed the foregoing document with the Clerk of
Court via the CM/ECF system, which will provide notice of such filing to the following NEF
counsel:

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                                                            /s/ Matthew S. Borick
                                                                           Borick__________
                                                      Matthew S. Borick




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